Case 2:13-cV-05584-S|\/|-SS Document 1-1 Filed 08/27/13 Page 1 of 5

l
,_)

zz“d JUDICIAL DISTRICT CanT ron THE PARISH or sT. TAi\/n\/LANY
sTAri§ or noUISIANA
sUlTNo.: 2 0 §1 5 . 1 338 S)lvisIoN: ‘\:]“
JENNLFER RIST THoMPSoN
vERsUs 7

LABORATORY CORPORATION OF AMERICA
rrn~;n JUL ` 2"4"2013 smFFANY GoNzALEs

DEPUTY CLERK
P_E_T_II_IMM_M

NOW COMES, through undersigned counsel, Jennifer Rist Thompson, a person of the
full age of majority and a resident of the Parish of St. Tammany, State of Louisiana, who
respectfully represents the following:

l.

That made defendant herein is LABORATORY CORPORATION OF AMERICA
(“LabCorp”), upon information and belief, a foreign corporation authorized to do and doing
business in the Parish of St Tammany, State of Louisiana.

H.

That in connection with treatment for an ongoing pre gnancy, petitioner, Jennifer Rist
Thompson, had blood drawn at the facility of defendant, LabCorp, which was performed by an
employee thereof on or about August 22, 2012.

HI.

During the drawing of blood, an employee of defendant struck a nerve in petitioner’s
ann, causing her immediate pain and lasting complications, such as pain, weakness, tingling, and
nerve damage

IV.

At all relevant times herein, the employee of LabCo!p involved in the August 22, 2012
procedure was acting within the course and scope of his/her employment with LabCorp, which is
vicariously liable for his/her actions and for the damages suffered by Ms_ Thompson as a result
thereof

V.

The above-described care rendered by LabCorp, through its employee(s), fell below the

` EleBlT `

_L

   

 

Case 2:13-cV-05584-S|\/|-SS Document 1-1 Filed 08/27/13 Page 2 of 5

\`

applicable standard of care and was negligent in the following, non-exclusive particulars:
A) Failure to use due care under the circumstance;
B) Failure to properly draw blood from a patient;
C) Failure to properly render appropriate follow-up care or recommend same
after striking a nerve in petitioner’s arm;
D) Negligent administration of medical care; and
E) Any and all acts of negligence Which may be discussed through the course
of discovery in this matter.
VI.
As a result of the above-described care rendered by defendants herein, petitioner, Jennifer
Rist 'I'hompson, has suffered the following, non-exclusive damages:
A) Pain and Suffering;
B) nisabihty and loss of'funccion;
C) Mental anguish;
D) Medical expenses;
E) Lost wages and lost earning capacity; and
F) All other damages considered reasonable under the premises
WI-LEREFORE, petitioner, Jennifer Rist Thompson, prays that defendant, Laboratory
Corporation of Arnerica, be served with a copy of this Petition and duly cited to appear and
answer same, and that after due proceedings are had, that there be judgment rendered herein in
favor of petitioner and against defendant for an amount reasonable under the premises`; for legal
interest from the date of Eling, for all costs of these proceedings, attomey’s fees and for all
general and equitable relief as allowed by law.
‘ Respectfully submitted,

/%w%/

JoHN D. sILEo (La. nar No.: 17797)
KEle P. RICHE (La. Bar No. 31939)
320 N. CARROLLTON AvENUUE
sUIrE 101

NEW oRLEANs, LoUlslANA 70119
TEL; 504-486-4343

FAX; 504-297-1249

Counse[ for Jenng'fer Rist Thompson

 

Case 2:13-cV-O5584-S|\/|-SS Document 1-1 Filed 08/27/13 Page 3 of 5

.» *
l

Please Serve:

~4

Laboratory Corporation of Arnerica
Through its registered agent for service of process,
Corporation Service Company \

320 Somerulos St. l

Baton Rouge, Louisiana 70802-6129

Case 2:13-cV-O5584-S|\/|-SS Document 1-1 Filed 08/27/13 Page 4 of 5

 

CURPDRAT|DN SERVIL`E I)DMPANY'

§m

 

null/ALL
. . T 'ualN b :11430616
NOthe Of Sel"VlCe Of Pi‘OCeSS ral§:i:lProce;Te§:ror/29/2013

 

Primary Contact: Kristina Cates

Laboratory Corporation of America Holdings
531 South Spring Street
Burlington, NC 27215

Copy of transmittal only provided to:

Emily Greeson
Lynda Andrews
Anetta Out|aw

 

Entity:

Entity Served:

Title of Action:
Document(s) Type:
Nature of Action:
Court/Agency:
CaselReference No:
Jurisdiction Served:
Date Served on CSC:
Answer or Appearance Due:
Originally Served On:
How Served:

Sender lnformation:

Laboratory Corporation of America
Entity lD Number 0035873

Laboratory Corporation Of Ameriea

Jennifer Rist Thompson vs. Laboratory Corporation Of Ameriea
Summons/Comp|aint

Personal injury

St, Tammany Parish District Court, Louisiana
2013-13383 J

Louisiana

07/29/2013

15 Days

CSC

Persona| Service

Kevin P. Riche
504-486-4343

 

Informatlon contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). lt does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC

CSC is SAS?O Type // certified for its Litigation Management System.
2711 Centervi|le Road Wl|mington, DE 19808 (888) 690-2882 | sop@cscinfo.com

Case 2:13-cV-O5584-S|\/|-SS Document 1-1 Filed 08/27/13 Page 5 of 5

` ' ' SERWE

 

 

 

Jennifer inst thompson ' ‘ No. 2013~13383 J
" " 22“d Judicial District Court
Ver$“~°' Parish of St. Tammany
Laboratory Corporation of America Louisiana

 

 

TO THE DEFENDANT LABORATORY CORPORATION OF AMERlCA, THROUGH lTS REGISTERED
AGENT FOR SERVlCE OF PROCESS, CORPORATION SERVlCE COMPANY, 320 SOMERULOS ST., BATON

ROUGE, LOUISIANA 70802-6129

You are hereby summoned to comply with the demand contained in the petition of which a true and correct copy (exclusive of
exhibits) accompanies this citation, or make an appearance, either by filing a pleading or otherwise, in the 22"ci Judicial District
Court in and for the Par_ish of St. Tammany, State of Louisiana, within tiiteen (15) days after the service hereof, under penalty
of default judgment against you.

Witness the Honorable the Judges of said Court this 24TH day of JULY A.D. 20 13

Jlialise Trieto, cLERi< or collar § ?RUEA " @lY
ny ','22 ". 01 /
BY: S/Titl°any Gonzales g r',g‘-,'i;i`i"{ PAE'!{T "

DEPUTY CLERK OF COURT

  
  

    
     
 

ISSUED:7/24/13

 

Attomey KEVIN P. RICHE’ Pl

 

320 N. CARROLLTON AVE., SUITE 101

 

 

NEW ORLEANS, LA 701 19

Received on , 20 , and on the day of , 20 ,

 

 

 

l served a true copy of the within ,

 

on in person,

 

at domicile with

 

in Parish, a distance of miles from

 

 

the Court House.

 

Dcputy Shcriff

Parish of

 

K-101 101-15

